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                                In the US District Court for the State of Oregon
 Benjamin Jay Barber
 V.                                                                  Case No. 3:22-cv-00134-MO
 Unitus Community Credit Union,
 Rebecca Rich, in her official capacity
                                                                                    Notice of Appearance
 as branch manager for Unitus
 Unknown John Doe, in his official capacity as
 bank teller for Unitus
                                             Notice of Appearance

Plaintiff declares that the delays with this matter, relate to the collapse of his Ethereurn Assets,
because of the collapse in price after the federal reserve interest rate changes, and not having
the liquid assets to pay for the Multnomah County Sheriffs Department to serve the documents.



Paid On.,                Fiom Block-~ ·      To'.Block~:               Duration-~       Amount~            Tx Hast,~



27. Jun, 2022 01:33                        ··1~f~314l                  565. 8. h        100.61 USD          ;    0x6ee84e2 ...

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03. ,Jun. 2022 11 :44   ,·1470249,Q... ·     14898696           ..    758.3 h           123. 04 USD         ¾ 0xd38i2dtJ ...


02. May 2022 21 :29      14498335 ·          14702_499                 767.5 h          109.62 USD          st   fJxdfcfafd_




Date 6/27/2022
/s/
Benjamin Barber


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